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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re: Dionicio Mena,                          :       Chapter 13
                                               :
                                               :       Case No. 22-10135 (PMM)
                                               :
       Debtor.                                 :


                                             ORDER

       AND NOW, upon consideration of the Motion for Relief from Stay (“the Motion”) (doc.

# 31), seeking relief pursuant to 11 U.S.C. §362 and the Response thereto (doc. # 33);

       AND, the parties having reported the matter settled with a stipulation memorializing the

settlement agreement to be filed with the Court within thirty (30) days (“the Stipulation”);

       It is hereby ORDERED that:

1. On or before July 15, 2022 the parties shall either file the Stipulation or file a notice relisting

   the Motion for hearing.

2. Failure to comply timely with Paragraph 1 above, may result in denial of the Motion without

   further notice or hearing.




Date: 6/14/22
                                                       PATRICIA M. MAYER
                                                       U.S. BANKRUPTCY JUDGE
